AO 245B (WDNC Rev. 4/04) Judgment in a Criminal Case



                                                 United States District Court
                                            For The Western District of North Carolina

UNITED STATES OF AMERICA                                                           JUDGM ENT IN A CRIM INAL CASE
                                                                           (For Offenses Com m itted On or After Novem ber 1, 1987)
        V.
                                                                           Case Num ber: DNCW 305CR000400-001
CHARLES ROBERT CUMMINS
                                                                           USM Num ber: 41100-048
                                                                           Jam es S. W eidner
                                                                           Defendant’s Attorney

THE DEFENDANT:

X       pleaded guilty to count(s) 1sss & 9sss.
        Pleaded nolo contendere to count(s) which was accepted by the court.
        W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                            Date Offense
 Title and Section               Nature of Offense                                          Concluded                         Counts

 18:371, 1343, 1341,             Conspiracy to Defraud the United States                    Decem ber 2005                    1sss
 2314, 506(a)(2)

 18:1343 and 2                   W ire Fraud, Aiding and Abetting                           Decem ber 2005                    9sss



       The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

        The defendant has been found not guilty on count(s) .
X       Count(s) 1 - 86, 1s - 86s, 1ss-86ss, 2sss - 8sss, 9sss 10sss - 86sss (is)(are) dism issed on the m otion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change
in the defendant’s econom ic circum stances.

                                                                                  Date of Im position of Sentence: April 8, 2008




                                                                                  Date:          April 21, 2008




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                                                               IM PRISONM ENT

       The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
Count 1sss: SIXTY (60) MONTHS; Count 9sss: SEVENTY (70) MONTHS to run concurrently with Count 1sss.




X    The Court m akes the following recom m endations to the Bureau of Prisons:
           Defendant shall participate in the Inm ate Financial Responsibility Program to support dependants and for paym ent of
           Court im posed m onetary penalties.
           Defendant shall participate in any Substance Abuse Program available through BOP while incarcerated and if eligible
           receive benefit of 18:3621(e)(2).
           Defendant shall be designated to a facility close to Northern California.

     The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

              At        On     .
              As notified by the United States Marshal.

X    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


              Before 2 pm on .
          X   as notified by the United States Marshal.
              As notified by the Probation or Pretrial Services Office.

                                                                    RETURN

I have executed this Judgm ent as follows:




         Defendant delivered on                                        To

At                                                     , with a certified copy of this Judgm ent.


                                                                                        United States Marshal

                                                                               By
                                                                                        Deputy Marshal




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                                                                SUPERVISED RELEASE

       Upon release from im prisonm ent, the defendant shall be on supervised release for a term of Counts 1sss & 9sss: THREE
(3) YEARS each count to run concurrently.

        The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
        risk of future substance abuse.

                                                  STANDARD CONDITIONS OF SUPERVISION

        The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.      The defendant shall not commit another federal, state, or local crime.
2.      The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.      The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or
        the term of supervised release on a schedule to be established by the court.
4.      The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.      The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.      The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.      The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written
        report within the first five days of each month.
8.      A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
        from custody of the Bureau of Prisons.
 9.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.     The defendant shall support his or her dependents and meet other family responsibilities.
11.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
        the probation officer.
12.     The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other
        controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.     The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such
        time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days
        of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the
        provisions of 18:3563(a)(5) or 18:3583(d), respectively.
15.     The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.     The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
        granted permission to do so by the probation officer.
17.     The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer and such
        other law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a search may be
        grounds for revocation of probation or supervised release. The defendant shall warn other residents or occupants that such premises or vehicle may be
        subject to searches pursuant to this condition.
18.     The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed by the probation officer.
19.     The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
        Court.
21.     As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
        personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such
        notification requirement.
22.     If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant’s
        economic circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.     If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic
        monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
24.     The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:




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                                                   CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                ASSESSM ENT                                         FINE                                      RESTITUTION

                    $200.00                                         $0.00                            $1,797,597.00 plus any additional
                                                                                                   restitution to be determ ined within 90
                                                                                                              days of judgm ent.



                                                                  FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X            The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X            The interest requirem ent is waived.

             The interest requirem ent is m odified as follows:


                                                  COURT APPOINTED COUNSEL FEES

             The defendant shall pay court appointed counsel fees.

             The defendant shall pay $                 Towards court appointed fees.




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                                                         SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

        A               Lum p sum paym ent of $               Due im m ediately, balance due

                        Not later than            , or
                        In accordance          (C),        (D) below; or

        B     X         Paym ent to begin im m ediately (m ay be com bined with          (C),    X (D) below); or

        C               Paym ent in equal           (E.g. weekly, m onthly, quarterly) installm ents of $               To com m ence
                           (E.g. 30 or 60 days) after the date of this judgm ent; or

        D     X         Paym ent in equal m onthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To com m ence
                        60 (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire
                        am ount of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the
                        U.S. Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or
                        m odify a paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court costs:
        The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary
penalty paym ents are to be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210, Charlotte, NC
28202, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal
m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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                                                       RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                   AMOUNT OF RESTITUTION ORDERED
 see attached




X       The defendant is jointly and severally liable with co-defendants for the total am ount of restitution. The Defendant is jointly
        and severally liable with co-conspirators for the total am ount of restitution, including 3:06cr373 (Ian Barker & Donald
        Duncan), 3:07cr48 (Ian Barker), 3:07cr49 (Donald Duncan), 3:06cr151 ( Giuseppe Pileggi, et al), 3:07cr115 (Sam uel
        Hofhenke) and 3:07cr86 (Sunny Siguenza).

X       Any paym ent not in full shall be divided proportionately am ong victim s.




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